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 1                       UNITED STATES DISTRICT COURT
 2                     NORTHERN DISTRICT OF CALIFORNIA
 3         Before The Honorable Laurel Beeler, Magistrate Judge
 4

 5 JACKSON,                      )
                                 )
 6           Plaintiff,          )
                                 )
 7 vs.                           ) No. C 21-08458-LB
                                 )
 8 TARGET CORPORATION,           )
                                 )
 9           Defendant.          )
   ______________________________)
10
                                 San Francisco, California
11                               Thursday, July 20, 2023
12
       TRANSCRIPT OF PROCEEDINGS OF THE OFFICIAL ELECTRONIC SOUND
13                  RECORDING 9:53 - 9:59 = 6 MINUTES
14
      APPEARANCES:
15
      For Plaintiff:
16                                 BY:   BRYON JACKSON, Pro Se
17 For Defendant:
                                         Manning & Kass Ellrod Ramirez
18                                         Trester, LLP
                                         One California Street
19                                       Suite 900
                                         San Francisco, California
20                                         94111
                                   BY:   DAVID VINCENT ROTH, ESQ.
21

22 Transcribed by:                       Echo Reporting, Inc.
                                         Contracted Court Reporter/
23                                       Transcriber
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 1 Thursday, July 20, 2023                                           9:53 a.m.
 2                           P-R-O-C-E-E-D-I-N-G-S
 3                                   --oOo--
 4               THE CLERK:     Calling civil action 21-8458, Jackson
 5 versus Target -- Target Corporation.

 6          Counsel, if you could please state your appearances for
 7 the record.

 8               MR. ROTH (via Zoom):       Good morning, your Honor.
 9 David Roth on behalf of Defendant Target.

10               THE COURT:     Good morning, Mr. Roth.      And I know
11 you're looking for your -- Mr. Jackson, you're on mute, and

12 I -- I'm not sure if you're on a device.            On a computer you
13 see a little microphone on the lefthand side, and you should

14 be able to toggle it on and off.            I never know how to do it
15 on a de -- I never know how to do it on a device.                I can
16 just figure it out.        I know how to do it on my computer.             I
17 don't know enough to tell you how to do it on a device.                   So,
18 I know you can hear us at least.            There you are.       Perfect.
19               MR. JACKSON (via Zoom):        Can you hear me now?
20               THE COURT:     Perfect.    Yes, of course, we can.
21               MR. JACKSON:     Yes.    Good morning, your Honor.
22               THE COURT:     Okay.    Good morning.    Okay.      Good.
23          So -- so -- so, thanks, everybody for being available.
24 Mr. -- so, I -- thanks for the -- you know, for the summary

25 judgment papers, Mr. Roth.           I'm sure you probably thought,




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                                                                                  3
 1 Oh, I'm through the battery issue and because of the

 2 vicarious liability and all the other issues, you are right

 3 on the merits.       But because Mr. Jackson's been representing
 4 himself, he plausibly pleaded a negligence claim.

 5          And, Mr. Jackson, thank you for filing.         We got all
 6 your notices.       Are you an e-filer, Mr. Jackson?
 7               MR. JACKSON:     Yes, that's correct, your Honor.
 8               THE COURT:     Okay.   Perfect.
 9          So, Elaine, just for -- for a clean docket, Mr. Jackson
10 has been concerned about making sure we knew he wanted to

11 proceed on his negligence claim.           There may be some gavels
12 that are attached to that styled as summary judgment, and

13 you can just terminate the gavels.

14          Mr. Jackson -- and Mr. Roth may not know this, but Mr.
15 Jackson, I had him evaluated to see if he qualified for the

16 Court's pro bono counsel program.           He does.    I -- and, so,
17 that's -- so, Mr. Jackson, I've sent Elaine an order today

18 -- order as of last night.

19          Elaine, we're going to appoint pro bono counsel for all
20 purposes.       So, Mr. Jackson, you'll have somebody
21 representing you going forward in the case.             And, so, that
22 will be -- you did a good job.          You did a good job yourself
23 being very thorough.         I mean, I will say this, Mr. Jackson.
24 You did -- you reported everything that happened to you.

25 You did a good job on your papers.           You got through summary




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 1 judgment, and now you'll get a lawyer.            I just -- I often
 2 can handle the -- the legal things myself because I know the

 3 law pretty well, especially in this area, and -- but the fun

 4 thing for lawyers is to come in and help people do trials.

 5 And I know that you had an ADR session before that wasn't

 6 terribly fruitful, and I understand that.            That's okay.       I'm
 7 not going to force ADR on anybody, but if -- if after

 8 talking with your lawyer you all want to pursue further

 9 discussions, I'm happy to entertain that but won't require

10 it because I know that it wasn't a useful exercise, for

11 example, from Target's perspective, the last time.

12               MR. JACKSON:     I -- I'm -- I would like to just
13 proceed to the trial.

14               THE COURT:     Yeah, that's fine.     That's one hundred
15 percent fine with me.         The pro bono counsel appointed to
16 represent you probably will feel the same way.             We get very
17 good lawyers coming in, and they're happy to have the trial

18 experience.       We don't get all that -- as many trials as you
19 would think in Federal Court.          So, we'll -- the lawyer will
20 be a trial lawyer who will be from a good firm who will help

21 represent you.       So, we have a -- I just finished a case with
22 pro bono counsel, and they were terrific.

23          So, the thing is it can take a little time.             So, what
24 I'm going to do, because we have to find the lawyer, the

25 lawyer has to meet with you, the lawyer needs to get the




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 1 discovery.       So, normally, what we do is we stay all
 2 deadlines until four weeks after pro bono counsel is

 3 appointed.       I'm going to put in a control status date.            It's
 4 -- I may see you earlier, Mr. Jackson.            It's the summer.
 5 It's already -- it's almost August.           People's kids are going
 6 back to school.        They go on summer vacation.       So, it can
 7 sometimes take our legal help desk a little bit of time to

 8 get somebody a lawyer, and we -- so, I'll put it on for that

 9 same October 12th.

10          Was that the date, Elaine?
11               THE CLERK:     It is, yes.
12               THE COURT:     I'm going to put it on for October
13 12th at 11:00 for status and further setting of dates.                 If
14 you get a lawyer sooner, Mr. Jackson and Mr. Roth, I'm happy

15 to move the CMC up.        The key thing is for you all to talk
16 about what you want to do, and then I'll set a trial

17 schedule then.

18               MR. ROTH:    I have a trial on September 5th.          So, I
19 probably won't want it moved up anyway.

20               THE COURT:     Oh, no.   Exactly.    Exactly.      No, it's
21 not -- I'm not trying to jam anybody.            And, really,
22 honestly, it's a stipulated schedule, and --

23               MR. ROTH:    Yeah.
24               THE COURT:     -- then consistent with my
25 availability.       But, so, you know, trials go away on my




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 1 docket too.        Sometimes they stack up, and then they usually
 2 settle down.        So, I'm -- I probably will be able to
 3 accommodate you.

 4          Okay.    So, that's all I had on the agenda today.            I let
 5 -- you look happy, Mr. Jackson.             So, that's -- that's good.
 6 And, so, we'll -- the -- you can -- you can feel free to

 7 call the help desk back, but Elaine will issue the order

 8 today and file it today so it will be official, and she'll

 9 email a courtesy copy to the help desk.            You'll have it too,
10 and then they'll be in touch with you about pro bono

11 representation.        But it can take a few weeks.
12                  MR. JACKSON:    Okay.   Thanks, your Honor.
13                  MR. ROTH:    Your Honor?
14                  THE COURT:    Yes, Mr. Roth.
15                  MR. ROTH:    There's some confusion on your docket,
16 and you probably want to help us clarify that.

17                  THE COURT:    Okay.   I'll look it up.
18                  MR. ROTH:    Yeah.    You have some dates for a -- a
19 response and a reply to --

20                  THE COURT:    No.    I -- I think that's because -- I
21 think what's -- we've been trying to -- we've been trying to

22 terminate those along the way.            I think Mr. --
23                  MR. ROTH:    Okay.
24                  THE COURT:    -- Jackson in his enthusiasm for
25 letting us know that he wanted to proceed on the negligence




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 1 claim, was docketing it as a summary judgment motion, and

 2 when that --

 3               MR. ROTH:    Okay.
 4               THE COURT:     -- summary judgment -- when -- when
 5 that happens, it automatically generates an opposition and a

 6 reply date.       I mean, or I -- I can't -- honestly, I can't
 7 remember because I haven't filed a motion --

 8               MR. ROTH:    It does.    Yes, it does.
 9               THE COURT:     I -- I file my own orders, but I don't
10 -- I haven't -- I haven't filed a motion for a while as a

11 lawyer.      And, so, that's what's happening.         So, at the
12 beginning of the calendar, I asked Elaine to just terminate

13 those gavels and to clear those dates.

14               MR. ROTH:    That's fine.
15               THE COURT:     The only thing on the calendar will be
16 October 12th for setting of a trial date.

17               MR. ROTH:    Perfect.    Thanks.    Thank you, your
18 Honor.

19               THE COURT:     And if you would just confer.         And I
20 know that when the new lawyer comes in, you'll coordinate.

21 Mr. Jackson, you can --

22               MR. ROTH:    Yes.
23               THE COURT:     -- coordinate giving the discovery you
24 have to the new lawyer, and then you can coordinate what a

25 mutually agreeable schedule looks like to you for trial.




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 1 And -- because we're beyond motions.           And, so, I don't
 2 anticipate anything other than pretrial motions.

 3               MR. ROTH:    Great.    Thank you, your Honor.
 4               THE COURT:     Okay.
 5               MR. JACKSON:     Thank you, your Honor.
 6               THE COURT:     Good.   Thanks very much.
 7          (Proceedings adjourned at 9:59 a.m.)
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 1                        CERTIFICATE OF TRANSCRIBER
 2

 3          I certify that the foregoing is a true and correct
 4 transcript, to the best of my ability, of the above pages of

 5 the official electronic sound recording provided to me by

 6 the U.S. District Court, Northern District of California, of

 7 the proceedings taken on the date and time previously stated

 8 in the above matter.

 9          I further certify that I am neither counsel for,
10 related to, nor employed by any of the parties to the action

11 in which this hearing was taken; and, further, that I am not

12 financially nor otherwise interested in the outcome of the

13 action.

14

15

16                    Echo Reporting, Inc., Transcriber
17                         Monday, October 23, 2023
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